 

Case 1:19-cv-10911-GBD Document 17

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JON R. MORGAN, on behalf of himself and all others
similarly situated,

Plaintiff,
-against-
UNIQUE USA, INC.,

Defendant.

GEORGE B. DANIELS, United States District Judge:

Filed 04/21/20 Page 1 of 1

   

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ORDER

19 Civ. 10911 (GBD)

The status conference is adjourned from May 6, 2020 to July 15, 2020 at 9:45 am.

Dated: New York, New York
April 21, 2020

SO ORDERED.

Dara, B Donk

CEPR . DANIELS
ited States District Judge

 
